              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                        CIVIL NO. 1:10cv134
                   [CRIMINAL CASE NO. 1:07cr101]


ALLEN VAN BRITT,                           )
                                           )
            Petitioner,                    )
                                           )
            vs.                            )    MEMORANDUM OF
                                           )    DECISION AND ORDER
UNITED STATES OF AMERICA,                  )
                                           )
         Respondent.                       )
______________________________             )

      THIS MATTER is before the Court on Petitioner’s Motion under 28

U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in

Federal Custody [Doc. 1].

                       I.   PROCEDURAL HISTORY

      On October 24, 2007, the Petitioner was charged in a one-count Bill

of Indictment with conspiracy to possess with intent to distribute

methamphetamine in violation of 21 U.S.C. §§ 846 and 841(a)(1).

[Criminal Case No. 1:07cr101, Doc. 1]. On December 18, 2007, the

Petitioner entered a guilty plea, pursuant to a written plea agreement, to

the Bill of Indictment. [Id., Doc. 45]. Magistrate Judge Howell engaged



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Petitioner in a lengthy colloquy to ensure that he understood the nature and

consequences of the proceedings and his actions. [Id., Doc. 50]. On June

25, 2008, the Honorable Lacy H. Thornburg sentenced the Petitioner to

115 months’ imprisonment and five years of supervised release. [Id., Doc.

106].

        On July 2, 2008, Petitioner filed a Notice of Appeal in the Fourth

Circuit Court of Appeals. [Id., Doc. 111]. On July 2, 2009, in an

unpublished decision, the Fourth Circuit affirmed this Court’s judgment,

concluding that this Court followed the necessary procedural steps in

sentencing Petitioner; that Petitioner was appropriately enhanced two

levels for the firearm located under his mattress; and that Petitioner’s

sentence was not disparate. United States v. Van Britt, 335 F. App’x 289

(4th Cir. 2009).

        This case was assigned to the undersigned upon Judge Thornburg’s

retirement. Petitioner now files this motion, claiming that his trial attorney

was ineffective for having failed to raise that the plea agreement was

breached and that the sentencing guidelines were applied incorrectly and

for having filed only an Anders 1 brief on appeal.



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            Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967).

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                           II.   LEGAL DISCUSSION

      Pursuant to Rule 4(b) of the Rules Governing Section 2255

Proceedings for the United States District Courts, sentencing courts are

directed to promptly examine motions to vacate, along with “any attached

exhibits and the record of prior proceedings” in order to determine whether

a petitioner is entitled to any relief. If the petitioner is not entitled to relief,

the motion must be dismissed. Id. Following such review, it plainly

appears to the Court that the Petitioner is not entitled to any relief on his

claims.

                   A.    Ineffective Assistance of Counsel

      To establish a claim of ineffective assistance of counsel, a petitioner

must show that counsel’s performance fell below an objective standard of

reasonableness, and that he was prejudiced by such constitutionally

deficient representation. Strickland v. Washington, 466 U.S. 668, 687-91,

104 S.Ct. 2052, 80 L.Ed.2d 674 (1984). In measuring counsel’s

performance, there is a strong presumption that counsel’s conduct was

within the wide range of reasonable professional assistance. Id. at 689;

104 S.Ct. 2052.




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      To demonstrate prejudice, Petitioner must show a probability that the

alleged errors worked to his “actual and substantial disadvantage, infecting

his trial with error of constitutional dimensions.” Murray v. Carrier, 477

U.S. 478, 494, 106 S.Ct. 2639, 91 L.Ed.2d 397 (1986) (quoting United

States v. Frady, 456 U.S. 142, 170, 102 S.Ct. 1584, 71 L.Ed.2d 816

(1982)). Under these circumstances, Petitioner “bears the burden of

proving Strickland prejudice.” Fields v. Attorney General of State of Md.,

956 F.2d 1290, 1297 (4th Cir. 1992) (citing Hutchins v. Garrison, 724 F.2d

at 1430-31 (4th Cir. 1983)). Therefore, if Petitioner fails to meet this

burden, a “reviewing court need not consider the performance prong.”

Fields, 956 F.2d at 1297 (citing Strickland, 466 U.S. at 697, 104 S.Ct.

2052).

      Moreover, in considering the prejudice prong of the analysis, the

Court must not grant relief solely because Petitioner can show that, but for

counsel’s performance, the outcome of the proceeding would have been

different. Sexton v. French, 163 F.3d 874, 882 (4th Cir. 1998). Rather, the

Court “can only grant relief under . . . Strickland if the ‘result of the

proceeding was fundamentally unfair or unreliable.’” Id. (quoting Lockhart

v. Fretwell, 506 U.S. 364, 369, 113 S.Ct. 838, 122 L.Ed.2d 180 (1993)).



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      A petitioner seeking post-conviction relief bears a heavy burden to

overcome this presumption, and the presumption is not overcome by

conclusory allegations. Carpenter v. United States, 720 F.2d 546, 548 (8th

Cir. 1983). Indeed, the petitioner bears an even heavier burden where the

claim of ineffective assistance of counsel follows the entry of a guilty plea.

Where a defendant has entered a plea of guilty, he must show that but for

counsel’s unprofessional errors, he would have gone to trial instead of

pleading guilty. Hill v. Lockhart, 474 U.S. 52, 59, 106 S.Ct. 366, 88 L.Ed.2d

203 (1985). Because some of Petitioner’s claims challenge issues at

sentencing, in order to demonstrate an entitlement to relief, he must, at a

minimum, allege facts which establish that his “sentence would have been

more lenient” absent counsel’s errors. Royal v. Taylor, 188 F.3d 239, 249

(4th Cir. 1999).

      Petitioner first argues that his counsel was ineffective for failing to

argue that the written plea agreement was breached when his counsel

failed to object during sentencing to a police officer’s statement that

Petitioner was found in possession of another firearm two weeks after the

instant offense. [Doc. 1-1 at 1]. In support of this claim, Petitioner cites to

paragraph 22(f) of his Plea Agreement which states that “[n]othing that the



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defendant discloses pursuant to this Plea Agreement will be used against

him in any other criminal proceeding, subject to the following exceptions:

....” [Doc. 45 at ¶22(f)].

      The Court has reviewed Petitioner’s Plea Agreement as well as other

relevant documents from Petitioner’s criminal file including the transcript of

his sentencing hearing. Although Petitioner’s Plea Agreement includes the

language to which Petitioner cites, the Court concludes that there has been

no violation of the Plea Agreement. During the sentencing hearing,

Petitioner’s counsel objected to the probation officer’s calculation of a two-

level increase for the gun found under Petitioner’s mattress. In connection

with that objection, Petitioner made a statement in which he acknowledged

that the gun was found under his mattress on which he and his co-

defendant were weighing drugs. He argued, however, that the gun was not

his and that it actually belonged to a co-conspirator. [Criminal Case No.

1:07cr101, Doc. 130: Sentencing Transcript at 4-5]. In response to

Petitioner’s statement, counsel for the Government asked Officer Euten,

the officer who conducted the search, to make a statement. Officer Euten

explained that Petitioner gave him consent to search and he located a gun

under Petitioner’s mattress. Officer Euten then stated that Petitioner told



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him that the gun belonged to his mother. Officer Euten further stated that

he explained to Petitioner that he could be in more trouble because he was

already a convicted felon. [Id. at 5-6]. Officer Euten added “[a]nd I think

two weeks later Mr. Britt was also found in possession of another firearm.”

[Id. at 6].

       Petitioner seems to argue that his counsel should have objected to

Officer’s Euton’s statement about Petitioner being in possession of another

weapon two weeks after the instant offense. He argues that counsel’s

failure to object was ineffective assistance and that Officer’s Euten’s

statement was a violation of the above-referenced section of his Plea

Agreement. Petitioner is mistaken. The reference Officer Euten made

regarding another weapon did not impact Petitioner’s sentence, nor, to the

Court’s knowledge, has Petitioner been charged with an offense related to

this additional weapon referenced by Officer Euten. Further, with respect

to the provision of the Plea Agreement to which Petitioner cited, the

statement made by Officer Euton was not information disclosed by

Petitioner pursuant to the Plea Agreement, which is what is governed by

the language of paragraph 22(f). Petitioner has failed to establish a breach




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of his Plea Agreement, and therefore, he has not established either prong

of the Strickland test with respect to this claim.

      Next, Petitioner argues that there is nothing in the Plea Agreement

that states that a gun enhancement would apply. He further argues that

this Court should dismiss the two-point gun enhancement because his Plea

Agreement was based on an “unfulfillable promise.” [Doc. 2 at 4].

      Petitioner is correct that the Plea Agreement did not make reference

to the gun enhancement. The Plea Agreement, however, also includes no

stipulations with respect to enhancements. Therefore, the Plea Agreement

does not preclude the Government from seeking an enhancement or

supporting an enhancement recommended by the probation officer in the

presentence report (“PSR”). The probation officer included a two-level

enhancement pursuant to USSG § 2D1.1(b)(1) because a gun was found

under Petitioner’s mattress by law enforcement pursuant to a search of

Petitioner’s residence. Although Petitioner denied that the gun was his,

this Court allowed the enhancement. The Fourth Circuit, in its unpublished

decision, concluded that the firearm enhancement was properly applied.

Van Britt, 335 F. App’x at 290. The law of the case doctrine "forecloses

relitigation of issues expressly or impliedly decided by the appellate court."



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United States v. Bell, 5 F.3d 64, 66 (4th Cir. 1993). Petitioner has not

established a breach of this plea agreement or ineffective assistance of

counsel with respect to this claim.2 Therefore, Petitioner’s claim regarding

the gun enhancement must be denied.

      Next, Petitioner argues that his counsel was ineffective for only filing

an Anders brief and for not raising the issue of breach of the plea

agreement on appeal. [Doc. 1-1 at 9]. Pursuant to Anders v. California,

386 U.S. 738, 87 S.Ct 1396, 18 L.Ed.2d 493 (1967), appellate counsel filed

a brief indicating that he had reviewed the record and found no meritorious

issues for appeal but questioned whether the district court properly applied

the Guidelines and whether Petitioner’s sentence was unreasonable

because it was disparate to the sentences of other defendants in the case.

Van Britt, 335 F. App’x at 289-90. Petitioner’s counsel did what he was

required to do pursuant to Anders v. California. Furthermore, Petitioner

was notified of his right to file a pro se supplemental brief and he did not do

so. Therefore, Petitioner cannot establish prejudice in connection with his




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         The Court notes that pursuant to Petitioner’s Plea Agreement, Petitioner waived
his rights to collateral review except for claims of ineffective assistance and
prosecutorial misconduct. [Criminal Case No. 1:07cr101, Doc. 45 at ¶19].

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claim that counsel was ineffective for filing an Anders brief and his claim

must fail.

      As his last claim for relief, Petitioner argues that his counsel was

ineffective for failing to object to the Court’s imposition of a sentence at the

top end of the Guidelines without explaining its reasoning. [Doc. 1-1 at 11].

Petitioner’s claim is foreclosed by the Fourth Circuit’s unpublished opinion

in this case. Indeed, the Fourth Circuit considered the 115-month 3

sentence imposed by Judge Thornburg and concluded that “[t]he district

court followed the necessary procedural steps in sentencing [Petitioner],

appropriately treating the Guidelines as advisory, properly calculating and

considering the applicable Guidelines range, and referencing § 3553(a).”

Id. at 290. The Fourth Circuit also acknowledged that this Court considered

and granted the Government’s motion for a downward departure pursuant

to section 5K1.1 of the Sentencing Guidelines and 18 U.S.C. § 3553(e)

based on the Government’s assertion that Petitioner truthfully detailed “his

role in the conspiracy and the roles of others within the conspiracy.” Id.




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          Petitioner was facing a 120-month statutory minimum sentence.

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      Because the Fourth Circuit considered Petitioner’s sentence of 115

months and concluded that this Court properly sentenced Petitioner

considering the applicable Guidelines range and referencing the § 3553(a)

factors, Petitioner cannot establish deficiency or prejudice in connection

with his claim that his counsel was deficient for failing to object to the

Court’s sentence because the Court did not explain its reasoning. See

Bell, 5 F.3d at 66 (The law of the case doctrine “forecloses relitigation of

issues expressly or impliedly decided by the appellate court.”). Petitioner

has not established either prong of the Strickland test and his claim

therefore fails.

                              III.     CONCLUSION

      The Court has considered the pleadings and documents submitted by

the Petitioner and the entire record of this matter and finds that it is clear

that Petitioner is not entitled to relief on his claims.

                                     IV.   ORDER

      IT IS, THEREFORE, ORDERED that Petitioner’s Motion to Vacate,

Set Aside, or Correct Sentence [Doc. 1] is DENIED AND DISMISSED.

      IT IS FURTHER ORDERED that pursuant to Rule 11(a) of the Rules

Governing Section 2254 and Section 2255 Cases, this Court declines to



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issue a certificate of appealability as Petitioner has not made a substantial

showing of a denial of a constitutional right. 28 U.S.C. § 2253(c)(2); Miller-

El v. Cockrell, 537 U.S. 322, 336-38, 123 S.Ct. 1029, 1039-40, 154

L.Ed.2d. 931 (2003) (holding that in order to satisfy § 2253(c), a petitioner

must demonstrate that reasonable jurists would find the district court’s

assessment of the constitutional claims debatable or wrong)(citing Slack v.

McDaniel, 529 U.S. 473, 484, 120 S.Ct 1595, 1604, 146 L.Ed.2d 542

(2000)).

      IT IS SO ORDERED.

                                       Signed: July 12, 2010




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